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UNITED STATES DISTRICT COURT
MIDDLE DISTRICT OF FLORIDA

JACKSONVILLE DIVISION

MICHELE TAYLOR Case No.: 3:25-cv-00255-TJC-PDB

Pro Se Plaintiff,
Vv.
UNITED STATES
POSTAL SERVICE,

Defendant.

/

NOTICE OF FILING PLAINTIFF’S MOTION TO DISQUALIFY
ATTORNEY AUSA RONNIE ARTER FOR UNAUTHORIZED

PRACTICE OF LAW, FAILURE TO REGISTER UNDER FARA, AND
LACK OF JURISDICTION

COMES NOW, Plaintiff Michele Taylor, appearing Pro Se, and
hereby provides notice that she has filed the attached:

Plaintiff's Motion to Disqualify Attorney AUSA Ronnie 5.
Carter for Unauthorized Practice of Law, Failure to
Register under FARA, and Lack of Jurisdiction

This filing includes legal argument under:

¢ 22 U.S.C. §§ 611(b), 611(c)(1){iv)
* Florida Stat. § 454.23

e Rule 11(b), Federal Rules of Civil Procedure

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e 42 U.S.C. §§ 1983 and 1985

¢ Rule 60(b)(4)

A copy of the motion has been served via FedEx and/or the Court’s
CM/ECF system on the opposing counsel listed below.

Respectfully submitted,
Dated: June 17, 2025

/s/ Michete-Taylor
Michele Taylor
Pro Se Plaintiff / Crime Victim

77317 Cobblestone Drive
Yulee, Florida 32097

Phone: (904) 536-6119
Email: m69way@aol.com

CERTIFICATE OF SERVICE

I HEREBY CERTIFY that on this 17th day of June, 2025, a true

and correct copy of the foregoing Notice of Filing and Motion was
served upon:

e Ronnie S. Carter, Esq.
Assistant United States Attorney
United States Attorney’s Office
300 North Hogan Street, Suite 700
Jacksonville, Florida 32202

Email: Ronnie.Carter@usdoj.gov

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/s/ Michele Taylor

Michele Taylor

Pro Se Plaintiff / Crime Victim
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Yulee, Florida 32097

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